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                 4                                  UNITED STATES DISTRICT COURT
                 5                                 NORTHERN DISTRICT OF CALIFORNIA
                 6
                      SUSAN LLOYD,
                 7                                                       Case No. 21-cv-10075-EMC
                                      Plaintiff,
                 8
                              v.                                         SCHEDULING ORDER FOR CASES
                 9                                                       ASSERTING DENIAL OF RIGHT OF
                      FACEBOOK INC,                                      ACCESS UNDER AMERICANS WITH
                10                                                       DISABILITIES ACT TITLE II & III (42
                                      Defendant.                         u.s.c. §§ 12131- 89)
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          crj   12
                13           IT IS HEREBY ORDERED that this action is assigned_ to the Honorable Edward M. Chen.
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  .Etll 0       14   When serving the complaint or notice of removal, the plaintiff or removing"defendant must serve
Qt              15   on all other parties a copy of this order and the assigned judge's pertinent Standing Orders. This
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  Q             16   case is otherwise exempt from Civil Local Rule 4-2. Counsel must comply with the case
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 Cl)     Cl)
                17   schedule listed below unless the Court otherwise orders.
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                19                                           CASE SCHEDULE

                20    Date             Event                                                      Governing Rule

                21    12/29/2021       Complaint Filed

                22    60 days after    Last day for plaintiff to complete service on defendants   General Order 56 �1;
                      Complaint        or file motion for administrative relief from deadline     Civil L.R.7-11
                23    Filed

                24    7 days before Last day for parties to complete initial disclosures          FRCivP 26(a);
                      Joint Site                                                                  General Order 56 �4
                25    Inspection
                26    60 days after    Last day for parties and counsel to hold joint inspection · General Order 56 �7
                      service of       of premises
                27    complaint
                28
                              Case 3:21-cv-10075-EMC Document 4 Filed 12/29/21 Page 2 of 2




                      1    35 days after   Last day for parties to meet and confer in person to    General Order 56 �[8
                           Joint Site      discus·s· settlement
                      2    Inspection

                      3
                           42 days after   Last day for plaintiff to file Notice of Need for       General Order 56 �9
                      4    Joint Site      Mediation and Certification of Counsel
                           Inspection
                      5                    Last day for plaintiff to file Notice Requesting Case
                           7 days after                                                            General Order 56 �10;
                      6    mediator        Management Conference                                   Civil L.R. 7-11
                           files
                      7    Certification
                           ofADR
                                                                                                           I



                      8    Session
                           certifying
                           mediation                                                                                       -
                      9
                           process 1s
                     10    concluded.

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